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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )   No. 4:10CR510 HEA
                                                )
ALI T. NAKHLEH,                                 )
                                                )
       Defendant.                               )

                                           ORDER

       IT IS HEREBY ORDERED that the change of plea hearing previously set in this matter

for Wednesday, August 24, 2011, is reset to Monday, August 29, 2011, at 11:30 a.m. in the

courtroom of the undersigned.

       Dated this 23rd day of August, 2011.




                                              ________________________________
                                                 HENRY EDWARD AUTREY
                                               UNITED STATES DISTRICT JUDGE
